Case 2:19-bk-14376-SK   Doc 1 Filed 04/17/19 Entered 04/17/19 07:14:17   Desc
                        Main Document     Page 1 of 46
Case 2:19-bk-14376-SK   Doc 1 Filed 04/17/19 Entered 04/17/19 07:14:17   Desc
                        Main Document     Page 2 of 46
Case 2:19-bk-14376-SK   Doc 1 Filed 04/17/19 Entered 04/17/19 07:14:17   Desc
                        Main Document     Page 3 of 46
Case 2:19-bk-14376-SK   Doc 1 Filed 04/17/19 Entered 04/17/19 07:14:17   Desc
                        Main Document     Page 4 of 46
Case 2:19-bk-14376-SK   Doc 1 Filed 04/17/19 Entered 04/17/19 07:14:17   Desc
                        Main Document     Page 5 of 46
Case 2:19-bk-14376-SK   Doc 1 Filed 04/17/19 Entered 04/17/19 07:14:17   Desc
                        Main Document     Page 6 of 46
Case 2:19-bk-14376-SK   Doc 1 Filed 04/17/19 Entered 04/17/19 07:14:17   Desc
                        Main Document     Page 7 of 46
Case 2:19-bk-14376-SK   Doc 1 Filed 04/17/19 Entered 04/17/19 07:14:17   Desc
                        Main Document     Page 8 of 46
Case 2:19-bk-14376-SK   Doc 1 Filed 04/17/19 Entered 04/17/19 07:14:17   Desc
                        Main Document     Page 9 of 46
Case 2:19-bk-14376-SK   Doc 1 Filed 04/17/19 Entered 04/17/19 07:14:17   Desc
                        Main Document    Page 10 of 46
Case 2:19-bk-14376-SK   Doc 1 Filed 04/17/19 Entered 04/17/19 07:14:17   Desc
                        Main Document    Page 11 of 46
Case 2:19-bk-14376-SK   Doc 1 Filed 04/17/19 Entered 04/17/19 07:14:17   Desc
                        Main Document    Page 12 of 46
Case 2:19-bk-14376-SK   Doc 1 Filed 04/17/19 Entered 04/17/19 07:14:17   Desc
                        Main Document    Page 13 of 46
Case 2:19-bk-14376-SK   Doc 1 Filed 04/17/19 Entered 04/17/19 07:14:17   Desc
                        Main Document    Page 14 of 46
Case 2:19-bk-14376-SK   Doc 1 Filed 04/17/19 Entered 04/17/19 07:14:17   Desc
                        Main Document    Page 15 of 46
Case 2:19-bk-14376-SK   Doc 1 Filed 04/17/19 Entered 04/17/19 07:14:17   Desc
                        Main Document    Page 16 of 46
Case 2:19-bk-14376-SK   Doc 1 Filed 04/17/19 Entered 04/17/19 07:14:17   Desc
                        Main Document    Page 17 of 46
Case 2:19-bk-14376-SK   Doc 1 Filed 04/17/19 Entered 04/17/19 07:14:17   Desc
                        Main Document    Page 18 of 46
Case 2:19-bk-14376-SK   Doc 1 Filed 04/17/19 Entered 04/17/19 07:14:17   Desc
                        Main Document    Page 19 of 46
Case 2:19-bk-14376-SK   Doc 1 Filed 04/17/19 Entered 04/17/19 07:14:17   Desc
                        Main Document    Page 20 of 46
Case 2:19-bk-14376-SK   Doc 1 Filed 04/17/19 Entered 04/17/19 07:14:17   Desc
                        Main Document    Page 21 of 46
Case 2:19-bk-14376-SK   Doc 1 Filed 04/17/19 Entered 04/17/19 07:14:17   Desc
                        Main Document    Page 22 of 46
Case 2:19-bk-14376-SK   Doc 1 Filed 04/17/19 Entered 04/17/19 07:14:17   Desc
                        Main Document    Page 23 of 46
Case 2:19-bk-14376-SK   Doc 1 Filed 04/17/19 Entered 04/17/19 07:14:17   Desc
                        Main Document    Page 24 of 46
Case 2:19-bk-14376-SK   Doc 1 Filed 04/17/19 Entered 04/17/19 07:14:17   Desc
                        Main Document    Page 25 of 46
Case 2:19-bk-14376-SK   Doc 1 Filed 04/17/19 Entered 04/17/19 07:14:17   Desc
                        Main Document    Page 26 of 46
Case 2:19-bk-14376-SK   Doc 1 Filed 04/17/19 Entered 04/17/19 07:14:17   Desc
                        Main Document    Page 27 of 46
Case 2:19-bk-14376-SK   Doc 1 Filed 04/17/19 Entered 04/17/19 07:14:17   Desc
                        Main Document    Page 28 of 46
Case 2:19-bk-14376-SK   Doc 1 Filed 04/17/19 Entered 04/17/19 07:14:17   Desc
                        Main Document    Page 29 of 46
Case 2:19-bk-14376-SK   Doc 1 Filed 04/17/19 Entered 04/17/19 07:14:17   Desc
                        Main Document    Page 30 of 46
Case 2:19-bk-14376-SK   Doc 1 Filed 04/17/19 Entered 04/17/19 07:14:17   Desc
                        Main Document    Page 31 of 46
Case 2:19-bk-14376-SK   Doc 1 Filed 04/17/19 Entered 04/17/19 07:14:17   Desc
                        Main Document    Page 32 of 46
Case 2:19-bk-14376-SK   Doc 1 Filed 04/17/19 Entered 04/17/19 07:14:17   Desc
                        Main Document    Page 33 of 46
Case 2:19-bk-14376-SK   Doc 1 Filed 04/17/19 Entered 04/17/19 07:14:17   Desc
                        Main Document    Page 34 of 46
Case 2:19-bk-14376-SK   Doc 1 Filed 04/17/19 Entered 04/17/19 07:14:17   Desc
                        Main Document    Page 35 of 46
Case 2:19-bk-14376-SK   Doc 1 Filed 04/17/19 Entered 04/17/19 07:14:17   Desc
                        Main Document    Page 36 of 46
Case 2:19-bk-14376-SK   Doc 1 Filed 04/17/19 Entered 04/17/19 07:14:17   Desc
                        Main Document    Page 37 of 46
Case 2:19-bk-14376-SK   Doc 1 Filed 04/17/19 Entered 04/17/19 07:14:17   Desc
                        Main Document    Page 38 of 46
Case 2:19-bk-14376-SK   Doc 1 Filed 04/17/19 Entered 04/17/19 07:14:17   Desc
                        Main Document    Page 39 of 46
Case 2:19-bk-14376-SK   Doc 1 Filed 04/17/19 Entered 04/17/19 07:14:17   Desc
                        Main Document    Page 40 of 46
Case 2:19-bk-14376-SK   Doc 1 Filed 04/17/19 Entered 04/17/19 07:14:17   Desc
                        Main Document    Page 41 of 46
Case 2:19-bk-14376-SK   Doc 1 Filed 04/17/19 Entered 04/17/19 07:14:17   Desc
                        Main Document    Page 42 of 46
Case 2:19-bk-14376-SK   Doc 1 Filed 04/17/19 Entered 04/17/19 07:14:17   Desc
                        Main Document    Page 43 of 46
Case 2:19-bk-14376-SK   Doc 1 Filed 04/17/19 Entered 04/17/19 07:14:17   Desc
                        Main Document    Page 44 of 46
Case 2:19-bk-14376-SK   Doc 1 Filed 04/17/19 Entered 04/17/19 07:14:17   Desc
                        Main Document    Page 45 of 46
Case 2:19-bk-14376-SK   Doc 1 Filed 04/17/19 Entered 04/17/19 07:14:17   Desc
                        Main Document    Page 46 of 46
